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                                 IN THE UNITED STATES DISTRICT COURT .,,                    "    , .      '   --- ·

                                FOR THE WESTERN DISTRICT OF TENNESSEE
                                          WESTERN DIVISION



        DR. TALIB-KARIM MUHAMMAD,                   )
                                                    )
                 Plaintiff ,                        )              NO. 88-2899-TUV
                                                    )
        REV. LEO GRAY, et al. ,                     )
                                                    )
                 Plaintiffs,                        )              NO. 9 0 - 2 0 9 3 -TUV
                                                    )
        UNITED STATES OF AMERICA,                   )
                                                    )
                 Plaintiff,                         )              NO. 91-2139-TUA
                                                    )
        MEMPHIS BRANCH OF THE NAACP,                )
                                                    )
                 Plaintiff-Intervenor,              )
                                                    )
        vs .                                        )
                                                    )
        CITY OF MEMPHIS, TENNESSEE,                .)
        et al.,                                     )
                                                    )
                 Defendants.                        )



                              PERMANENT INJUNCTION AND FINAL JUDGMENT




                 These consolidated actions ·arise under Section 2 of the Voting

        Rights Act of 1965, as amended,                  4~ U . S.C. § 1973, and under the

        United States Constitution, raising challenges to the use of at-

        large seats for election to the Memphis City Council, as well as to

        the use of a majority-vote requirement for those at-large seats and

        for the offices of mayor, city court clerk and city court judge for

        the City . of Memphis .             On July 26,         1991,     this    court          issued a

        preliminary            injunction      against the use of a                    majority - vote
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requirement for city-wide offices.         On April 25, 1995 , this court

held that the use of at-large seats for election to the Memphis

City Council and the use of a majority-vote requirement for city-

wide offices violates Section 2 of the Voting Rights Act.                       The

plaintiffs' claims concerning the method of electing the Memphis

City   Council   have   been   resolved by     the Memphis       City     Charter

amendment adopted by popular vote on November 5, · 1996.

       This order will make permanent the court's July 26,                      1991

preliminary injunction and the July 5,             1995      Injunction Decree
against     city-wide runoff   elections      so as     to   fully     remedy    the

statutory violations found by the court.

       THEREFORE, it is hereby ORDERED, ADJUDGED AND DECREED that:

       1.    The defendants,   their agents and their successors are

permanently enjoined from ~nforcing a majority vote requirement in

municipal elections for city-wide offices of the City of Memphis,

including the offices of mayor, city court clerk and city court

judge.
       2.    All remaining claims are dismissed.             The entry of this

order constitutes final judgment in these actions.
       IT IS SO ORDERED this     (X 9'f day


                                                                          JUDGE




                                       2
